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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


MICHAEL PATRICK SIANOTM
                                                     Civil Action No.: 3:20-cv-12827-MAS-DEA
                          Plaintiff,
              v.
                                                        NOTICE OF MOTION TO DISMISS
M&T BANK,
PARKER McCAY P.A. LAW OFFICES et al.
                                                          PLAINTIFF’S COMPLAINT
and all Unknown Parties

                          Defendant.


            PLEASE TAKE NOTICE that, upon the Motion of Defendant M&T Bank (“M&T Bank”)

and all pleadings and proceedings heretofore had herein, the law firm of Parker Ibrahim & Berg

LLP, will move before the Honorable Michael A. Shipp, United States District Judge for the

District of New Jersey, at the Clarkson S. Fisher Building & U.S. Courthouse located at 402 East

State Street, Room 5W, Trenton, New Jersey, 08608, on December 7, 2020, at 10:00 a.m., or as

soon thereafter as M&T Bank may be heard, for an Order dismissing the Complaint of Plaintiff

Michael Patrick SianoTM, with prejudice and in its entirety, pursuant to Fed. R. Civ. P. Rule

12(b)(1), and for such other and further relief as the Court deems just and proper.

            Oral argument is requested.



~ Signature on following page ~




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Dated: Somerset, New Jersey       PARKER IBRAHIM & BERG LLP
       November 3, 2020           Attorneys for Defendant,
                                  M&T Bank

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